
Per Curiam.
Appellant's motion for reinstatement filed on December 7, 2018, in case number 1D18-0222, is granted, and the appeal in case number 1D18-0222 is hereby reinstated.
Case number 1D18-0222 is treated as an appeal from the final judgment of foreclosure, rendered by the lower tribunal's December 14, 2017, Order Denying Defendant Barbara Kelly's Motion to Vacate Final Judgment. On the Court's own motion, the appeal in case number 1D18-0220 is dismissed as duplicative of the appeal in case number 1D18-0222. Review of the order in case number 1D18-0220 shall proceed in case number 1D18-0222.
Appellant's request to consolidate the two appeals, contained within the foregoing motion, is denied as moot.
Wolf, Lewis, and Wetherell, JJ., concur.
